  21-10503-scc          Doc 7      Filed 03/21/21 Entered 03/22/21 00:12:20               Imaged
                                  Certificate of Notice Pg 1 of 3


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
In re:

127 Westchester SQ Restaurant LLC                                      Chapter 11
dba Shanghai Red,                                                      Case No. 21-10503 (SCC)


                                                      Debtor.
-------------------------------------------------------------------X

                    ORDER SCHEDULING INITIAL CASE CONFERENCE

       The Debtor having filed a petition for reorganization under Chapter 11 of the Bankruptcy
Code on March 17, 2021 and the Court having determined that a case management conference
will aid in the efficient conduct of the case, it is

        ORDERED, pursuant to 11 U.S.C. Section 105(d), that an initial case management
conference will be conducted by the Honorable Shelley C. Chapman, United States Bankruptcy
Judge, United States Bankruptcy Court, One Bowling Green, Courtroom 623, New York, New
York, on April 7, 2021 at 11:30 a.m., or as soon thereafter as counsel may be heard, to consider
the efficient administration of the case, which may include, inter alia, such topics as retention of
professionals, creation of a committee to review budget and fee requests, use of alternative
dispute resolution, timetables and scheduling of additional case management conferences; this
will be a telephonic hearing via Court Solutions and participants may register to appear at
www.court-solutions.com; and it is further

        ORDERED, that the Debtor shall give notice by mail of this order at least seven (7) days
prior to the scheduled conference to: (a) each committee appointed to serve in the case pursuant
to 11 U.S.C. Section 1102 (or, if no committee has been appointed, to the holders of the 10
largest unsecured claims); (b) the holders of the five largest secured claims; (c) any postpetition
lender to the Debtor; (d) the United States Trustee; and (e) all parties who have filed notices of
appearance and request for papers, and shall promptly file proof of service of such notice with
the Clerk of the Court.

Dated: New York, New York
       March 19, 2021


                                                     /S/ Shelley C. Chapman
                                                     HONORABLE SHELLEY C. CHAPMAN
                                                     UNITED STATES BANKRUPTCY JUDGE
                  21-10503-scc               Doc 7        Filed 03/21/21 Entered 03/22/21 00:12:20                                     Imaged
                                                         Certificate of Notice Pg 2 of 3
                                                              United States Bankruptcy Court
                                                              Southern District of New York
In re:                                                                                                                 Case No. 21-10503-scc
127 Westchester SQ Restaurant LLC D.B.A.                                                                               Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0208-1                                                  User:                                                                       Page 1 of 2
Date Rcvd: Mar 19, 2021                                               Form ID: pdf001                                                           Total Noticed: 44
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 21, 2021:
Recip ID                   Recipient Name and Address
db                         127 Westchester SQ Restaurant LLC D.B.A. Shanghai, 127-129 Westchester Square, Bronx, NY 10461
7823681                +   A & A Gourmet, 53-42 98th Street, Corona, NY 11368-3021
7823687                    ATAX Westchester Square, Attn: Diego R Toasa, 142 Williamsbridge Road, Bronx, NY 10461
7823688                +   ATC Brand Management, 25 Rober Pitt Drive, Suite 204, Monsey, NY 10952-3366
7823682                +   Action Environmental Services, 300 Frank W Burr Boulevard, Suite 39, Teaneck, NJ 07666-6730
7823684                +   Am Trust Insurance Company of Kansas, Inc., PO Box 6939, Cleveland, OH 44101-1939
7823685                +   American Express, PO Box 981537, El Paso, TX 79998-1537
7823686                +   Anheuser-Busch Sales of New York, 550 Food Center Drive, Bronx, NY 10474-7047
7823689                +   Baldor Specialty Food, Inc, 155 Food Center Drive, Bronx, NY 10474-7136
7823691                +   Caliber Pest Services, PO Box 622484, Bronx, NY 10462-0603
7823692                +   Churchill Linen Service, 7 Evans St., PO Box 3247, Brockton, MA 02304-3247
7823693                +   Cintas Corporation #011F 011F, 325 Corporate Blvd South, Yonkers, NY 10701-6864
7823694                    Con Edison, JAF Station, P.O. Box 1702, New York, NY 10116-1702
7823695                +   Dorado Realty LLC, 2123 Williamsbridge Road, 2nd floor, Bronx, NY 10461-1637
7823696                +   Dr. Mukesh Sethi, 69 Taconic Road, Greenwich, CT 06831-3452
7823697                +   Dr. Ramji Sethi, 69 Taconic Road, Greenwich, CT 06831-3452
7823698                +   Empire Merchants LLC, 16 Bridgewater St, Brooklyn, NY 11222-3804
7823699                +   Galant Graphics, 2020 Webster Ave, Bronx, NY 10457-2445
7823701                +   Icesurance, 500 Fenimore Road, Mamaroneck, NY 10543-2313
7823704                +   JD Meat Market, 1411 Ogden Ave, Bronx, NY 10452-2308
7823703                +   Javiel Rodriguez, 930 Thierot Avenue Apt. 16J, Bronx, NY 10473-3223
7823705                +   McKinney Welding Supply, 600 W 52nd St, New York, NY 10019-5037
7823706                +   MetroTouch, 351 E 84th St, New York, NY 10028-4423
7823707                +   Monarch Seafood, 314 West 1st Avenue, Roselle, NJ 07203-1001
7823708                +   Multi-flow, 1434 County Line Road, Huntingdon Valley, PA 19006-1801
7823709                    New York State Department of Labor, Division of Labor Standards120 Bloomingd, White Plains, NY 10605
7823711                    Optimum, 1 Court Square West, Long Island City, NY 11101
7823712               #+   Ordermark, 12045 East Waterfront Dr, 3rd floor, Los Angeles, CA 90094-3226
7823713                +   Pankaj Malik, Esq., Warshaw Burstein LLP, 575 Lexington Avenue 7th floor, New York, NY 10022-6138
7823714                +   Prince Grover, 51 Bellwood Drive, New Hyde Park, NY 11040-3712
7823715                    Riviera Produce, Box/Call 6065, Englewood, NJ 07631
7823716                +   Royal Warewashing, PO Box 5503, Astoria, NY 11105-5503
7823718                +   Southeast Asia Market LLC, 52 15th Street, Brooklyn, NY 11215-4610
7823720                +   TD Bank, 5 Commerce Park N, Bedford, NH 03110-6984
7823721                +   The Hartford, One Hartford Plaza Hartford, Hartford, CT 06155-0001
7823722                +   Tru Pac, 14711 34th Ave #6D, Flushing, NY 11354-3763
7823723                +   W.B Mason Co., Inc., 59 Centre St, Brockton, MA 02301-4075

TOTAL: 37

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
                 21-10503-scc              Doc 7        Filed 03/21/21 Entered 03/22/21 00:12:20                                Imaged
                                                       Certificate of Notice Pg 3 of 3
District/off: 0208-1                                                 User:                                                                Page 2 of 2
Date Rcvd: Mar 19, 2021                                              Form ID: pdf001                                                    Total Noticed: 44
Recip ID                  Notice Type: Email Address                               Date/Time                Recipient Name and Address
7823683                 + Email/Text: amscbankruptcy@adt.com
                                                                                   Mar 19 2021 19:25:00     ADT Security Services, PO Box 371878,
                                                                                                            Pittsburgh, PA 15250-7878
7823690                 + Email/Text: bankruptcy_notices@bindiusa.com
                                                                                   Mar 19 2021 19:24:00     Bindi North America, Inc., 630 Belleville
                                                                                                            Turnpike, Kearny, NJ 07032-4407
7823700                 + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                   Mar 19 2021 20:08:57     Home Depot, PO Box 9001010, Louisville, KY
                                                                                                            40290-1010
7823702                   Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                   Mar 19 2021 19:25:00     Internal Revenue Service, PO Box 7346,
                                                                                                            Centralized Insolvency Agency, Philadelpia, PA
                                                                                                            19101-7346
7823710                   Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                   Mar 19 2021 19:25:00     NYS Dept of Tax And Finance, Bankruptcy
                                                                                                            Section, PO Box 5300, Albany, NY 12205-0300
7823719                 + Email/Text: HARVEY.CHARNELLE@METRONY.SYSCO.COM
                                                                    Mar 19 2021 19:25:00                    Sysco Metro New York, LLC, 20 Theodore
                                                                                                            Conrad Drive, Jersey City, NJ 07305-4614
7823724                 + Email/Text: Lmoscoso@whiteplainslinen.com
                                                                                   Mar 19 2021 19:25:00     White Plains Linen, 4 john Walsh Blvd, Peekskill,
                                                                                                            NY 10566-5323

TOTAL: 7


                                                     BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
7823717          ##+           Smart Care, 386 Wabasha St. N, Saint Paul, MN 55102-1312

TOTAL: 0 Undeliverable, 0 Duplicate, 1 Out of date forwarding address


                                                    NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 21, 2021                                         Signature:          /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 19, 2021 at the address(es) listed
below:
Name                              Email Address
Norma E. Ortiz
                                  on behalf of Debtor 127 Westchester SQ Restaurant LLC D.B.A. Shanghai Red email@ortizandortiz.com
                                  bkcourt@gmail.com;ortiznoticeme@gmail.com;ortizandortiz@gmail.com;ortiznr70019@notify.bestcase.com

United States Trustee
                                  USTPRegion02.NYECF@USDOJ.GOV


TOTAL: 2
